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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                                  Case No. CV 16-08787-AB (JEMx)
11 Mitzi Siracusa, et al.
12                  Plaintiff,
                                                ORDER DISMISSING CIVIL ACTION
13   v.
14   Los Angeles Auto Wholesalers and
     Recovery Services, Inc.
15
                     Defendants.
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           THE COURT having been advised by counsel that the above-entitled action has
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     been settled;
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           IT IS THEREFORE ORDERED that this action is hereby dismissed without
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     costs and without prejudice to the right, upon good cause shown within 30 days, to
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     re-open the action if settlement is not consummated. The Scheduling Conference set
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     for April 24, 2017 is VACATED. This Court retains full jurisdiction over this action
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     and this Order shall not prejudice any party to this action.
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25
26   Dated: April 20, 2017            _______________________________________
                                      ANDRÉ BIROTTE JR.
27                                    UNITED STATES DISTRICT JUDGE
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                                               1.
